     Case: 1:21-cv-03487 Document #: 99 Filed: 12/21/21 Page 1 of 4 PageID #:618




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JACKIE WILSON                                     )
                                                  )   Case No. 21-CV-3487
                   Plaintiff                      )
                                                  )
                      vs.                         )   HON. JUDGE FRANKLIN U.
                                                  )   VALDERRAMA
Estate of Former Chicago Police                   )
Department Commander Jon Burge, et al.,           )   HON. MAG. JEFFREY T. GILBERT
                                                  )
                 Defendants.                      )   JURY TRIAL DEMANDED


 PLAINTIFF’S UNOPPOSED MOTION FOR LEAVE TO FILE EXCESS-PAGE BRIEF

        Pursuant to Local Rule 7.1, Plaintiff Jackie Wilson respectfully requests permission to

file instanter a combined memorandum of law in opposition to Defendants’ motions for

summary judgment in excess of 15 pages. In support of this motion, Plaintiff states as follows:

        1)      Thus far, 11 Defendants have filed 7 separate motions to dismiss, and Defendant

Cook County filed a motion to be excused from answering Plaintiff’s Complaint. In total,

Plaintiff is responding to 8 briefs.

        2)      Not including Cook County’s motion to be excused from answering Plaintiff’s

Complaint, Defendants’ motions to dismiss total 147 pages.

        3)      To avoid duplication, Plaintiff is filing one combined response brief to

Defendants’ pending motions.

        4)      Plaintiff respectfully submits that he needs more than the 15 pages called for by

Local Rule 7.1 to adequately respond to Defendants’ arguments.
    Case: 1:21-cv-03487 Document #: 99 Filed: 12/21/21 Page 2 of 4 PageID #:619




       5)      Plaintiff’s combined response brief is 101 pages, which is less than the 120 total

pages he would have been permitted to file under the local rules if he had filed separate

responses to each of the 8 pending motions.

       6)      Plaintiff asked Defendants if they opposed him filing a combined brief of 110

pages. Counsel for the majority of Defendants have responded and do not oppose Plaintiff filing

a consolidated response with excess pages. Those Defendants include: (1) Defendant Hyman; (2)

Defendant Cook County; (3) Defendant City of Chicago; (4) Defendant Daley; (5) Defendant

Hillard; (6) Defendant Shines; (7) Defendant Needham; (8) Defendant McKenna; and (9)

Defendant Trutenko.

       7)      Defendants Hartnett, Horvat, and Kunkle indicated that they did not oppose the

request for excess pages but do oppose Plaintiff filing a combined response brief. They did not

indicate a substantive reason for their position, but Plaintiff submits that filing 8 separate

response briefs would be inefficient for the Court and the parties. Many of the Defendants make

the exact same arguments for dismissal, including citations to the same cases, and at times, cross-

referencing other Defendants’ briefs. Requiring Plaintiff to file 8 separate briefs will result in

substantial duplication of argument or substantial cross-referencing of response briefs such that

the briefs will be extremely difficult to follow.

       WHEREFORE, Plaintiff seeks leave to file an excess-page brief in response to

Defendants’ motions to dismiss and Cook County’s motion to be excused from answering

Plaintiff’s Complaint.




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     Case: 1:21-cv-03487 Document #: 99 Filed: 12/21/21 Page 3 of 4 PageID #:620




                                        RESPECTFULLY SUBMITTED,



s/ Elliot Slosar                         s/ Flint Taylor

Jon Loevy                                Flint Taylor
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                                         3
    Case: 1:21-cv-03487 Document #: 99 Filed: 12/21/21 Page 4 of 4 PageID #:621




                                 CERTIFICATE OF SERVICE

       I certify that true and correct copies of the foregoing have been served via CM/ECF on

this, the 21st day of December 2021, to counsel of record for all parties.



                                              /s/ Elliot Slosar
                                              Counsel for Plaintiff




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